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IN THE UNITED STATES DISTRICT CO \ LL E
FOR THE EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION JUN 13 2019

CRIM. CASE NO: 95-SOWERKSOTICE
Plaintiff, ve a
HONORABLE BERNARD A. FRIEDMAN

v. SENIOR U.S. DISTRICT JUDGE

UNITED STATES OF AMERICA,

DION ERIC SAVAGE, SR.,

Defendant. /

THE RULE OF LENITY APPLIES TO SECTION 404 OF THE
FIRST STEP ACT OF 2018 BECAUSE SECTION 404 DOES NOT
STATE WHETHER IT IS THE "STATUTE OF CONVICTION" OR

THE "ACTUAL OFFENSE GONDUCT' THAT. DETERMINES THE

ELIGIBILITY OF THE FIRST STEP ACT OF 2018

 

NOW COMES Dion Savage, proceeding Pro Se in the above
captioned-matter. Mr. Savage invokes the legal doctrine prescribed
under Franklin v. Rose, 765 F.2d 82, 84-85 (6th Cir. 1985), in the
instant proceedings. And for the mertiorious and irrefutable and
controlling precedent that follows, Mr. Savage implores the Court
to apply "The Rule of Lenity"™ to Section 404 and construe it in
Mr. Savage's favor as to it being the "statute of conviction" that
determines the eligibility of the First Step Act of 2018. See, e.g.,
U.S. v. Pierre, 2019 U.S. Dist. LEXIS 10-11 58895 (D.RI. April
5, 2019).

(I)
SECTION 404 OF THE FIRST STEP ACT IS AN AMBIGUOUS STATUTE
BECAUSE IT FAILS TO STATE WHETHER IT IS THE "STATUTE

OF CONVICTION" OR THE “ACTUAL OFFENSE CONDUCT" THAT
DETERMINES THE ELIGIBILITY OF THE FIRST STEP ACT of 2018
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Mr. Savage avers that the Court has the discretion to impose
a reduced sentence under the First Step Act of 2018 because he

was definitely convicted of a "covered offense,"

and that is, §§
841(b)(1)(B)/848(b) that was "modified by Section 2 or 3 of the
Fair Sentencing Act of 2010." § 848(b) as it relates to Mr. Savage
relies solely on § 841(b)(1)(B)(iii) to trigger a MM life sentence.
The pertinent part of the Fair Sentencing Act increased the
quantity of crack cocaine from 5 grams to 28 grams. Thus, under

the Fair Sentencing Act of 2010/Section 404(a) it now requires

8.4 kilograms of crack cocaine to trigger a mandatory minimum life

 

sentence under § 848(b) (300 times 28 equals 8400 grasm of crack,

see Jackson, 345 F.3d at 646 n. 5). Mr. Savage was held responsible
for 1.5 kilograms of crack during my 10/21/97 sentencing hearing,
which iY the actual offense conduct, and in light of the plethora

of “exculpatory and material evidence" submitted in my initial

First Step Act motion filed on 1/2/19 on the last page of that

moiton in a footnote, the 1.5 kilograms is called into question.
Furthermore, it must be duly noted that Mr. Savage objected to the
PSR, crack cocaine and the entire sentencing proceedings. See U.S.

v. Valentine, 694 F.3d 665, 672 n. 4 (6th Cir. 2012); U.S. v.
Moore, 582 F.3d 641, 644 (6th Cir. 2009).

 

1/ Your Honor, to further verify that the conspiracy involved 1.5 kiolgrams of
crack (everyone on the conspiracy is held responsible for the same amount of
crack), Mr. Savage direct the Court's attention to [docket entry 838], where the
Court granted Eric Lyzell Simpson § 3582(c)(2) relief as to Amendment 706. And
Amendment 706 has a threshold amount of crack of 4.5 kilograms. See Valentine,
694 F.3d at 679 n. (Amendment 706 increased that threshold quantity to 4.
kilograms). Thus, there should be "no doubt" in the Court's mind that the MM
life sentence under § 848(b)/Section 404(a) is no longer mandated to Mr. Savage.

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Mr. Savage avers that in the event the government presents an
actual offense conduct argument as the basis for the Court to deny
First Step Act relief, an argument that the vast majority of
District courts has flat out rejected, see Pierre, 2019 U.S. Dist.
LEXIS 11, Section 404 is an ambiguous statute because it does not
state Congressional intent as to whether it is the "statute of

2/
conviction" that determines the eligibility of the First Step Act
of 2018 or if is the “actual offense conduct" that controls.

In Pierre, supra, the government presented the above argument
and the Court in Pierre held:

in determining a defendant's eligibility for relief

under the First Step Act, it is not clear whether Congress

intended the district court to look to the actual offense

conduct for which the defendant was convicted (for example,
using the transcript from the change of plea colloguy to
determine drug quantity), or to look simply to the

offense of conviction (i.e., the federal criminal statute

the defendant violated).

The Court in Pierre, supra went on and stated that both the
Government's and Defendant's arguments are plausible on their
face, and there is no legislative history available on Section
404 to lend clarity to Congressional intent. But ultimately,
joining other courts that have weighed in on the issue, the Court
concludes that Defendant's construction is more sensible. See,
e.g., U.S. v. Tucker, 356 F. Supp. 3d 808 (S.D.Iowa 2019); U.S.

v. Davis, 2019 U.S. Dist. LEXIS 36348 (W.D.N.Y. Mar. 6, 2019).

The Court held in Pierre, which is the crux of the instant

Supplemental Motion, that where a crimianl statute is ambiguous,

 

2/ See, e-g., Reno v. Koray, 115 S.Ct. 2021, 2029 (1995).

 

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as is here, the rule of lenity informs the Court's decision.
U.S. v. Bowen, 127 F.3d 9, 13 (1st Cir. 1997)(As the Supreme Court
has consistently held, the rule of lenity commands that genuine
ambiguties affecting a criminal statute's scope be resolved in
the defendants favor).
The Supreme Court and Sixth Circuit is in accord with The
Rule of Lenity applies to ambiguous criminal statutes and that
the statute in question MUST be construed in the defendants favor.
The Supreme Court has given lower courts at least five
formulations for determining when the "Rule of Lenity" applies:

"[O]nly when the equipoise of competing reasons cannot
otherwise be resolved." See Johnson v. United States,
529 U.S. 694, 713 n. 13 (2000).

 

When the court "can make no more than a guess." Reno v.
Koray, 515 U.S. 50, 65 (1995).

When the court is "left with an ambiguity or uncertainty."
(19 Muscarello v. United States, 524 U.S. 125, 139
1998).

 

When, after all the legitimate tools of interpretation
have been applied, "a reasonable doubt persists."
Moskal v. United States, 498 U.S. 103, 108 (1990). The
Sixth Circuit also provides varying formulations for
when to apply the rule:

"[A]s a tiebreaker of last resort[.]" U.S. v. Morales,
687 F.3d 697, 701 (6th Cir. 2012)

"([W]hen the plain language, structure, and legislative
history provides no guidance[.]" U.S. v. King, 516 F.3d
425, 432 (6th Cir. 2008).

"When there are TWO rational readings of a criminal
statute" and Congress hasn't spoken in "clear and
definite language." U.S. v. Brock, 501 F.3d 762, 768
(6th Cir. 2007), abrogated on other grounds.
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"[W]here significant doubt or unceratainty lingers."

U.S. v. Canelas-Amador, 837 F.3d 668, 675 (6th Cir.

2016).

Of all of the above, the Court should adopt the Moskal
or Brock, 501 F.3d at 768, formulation, the Rule of Lenity would
mitigate against adopting a broad reading of "operate" because
reasonable doubts abound. After applying all the legitimate tools
of interpretation, we are left with a vague, undefined word; no
clear statutory purpose; and a self-referential definition. "[W]hen

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the government means # punish, its commands must be reasonably
clear. When they are not clear, the consequences should be visited
on the party's more able to avoid and correct the effects of
shoody legislative drafting,... Id. (Justice Thurgood Marshall
& endorsed by the late great Justice Scalia. See Reading Law
at 299).

Accordingly, in light of the above controlling precedent,
the Court should construe Section 404 in Mr. Savage's favor as
to it being the “statute of conviction" that controls the
eligibility of the 1SA, and in the case at bar the "statute of
conviction is § 848(a) which carries a MM 20 year term of
imprisonment.

The Court holds that, in determining whether a defendant

is eligible for relief under § 404 of the First Step

Act, the sentencing court should look to whether the

offense of conviction was modified by the Fair Sentencing.

Act of 2010 to determine eligibility; it should REFRAIN

from delving into the particulars of the record to

determine how this specific defendant committed his or
her offense of conviction, and how those facts would
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have hypotheically affected the charges brought
against the defendant under the new statutory regime. Id.
Pierre, supra at LEXIS 12. (Chief Judge William E. Smith)
WHEREFORE, Mr. Savage implores the Court, in accord with
Pierre, supra as to Section 404 being an ambiguous statute and
the plethora of controlling precedent as to when to apply the
Rule of Lenity, to grant the relief requested above and reduce
my MM Hee sentence under § 848(b), the actual offense conduct,
to a MM 240 month term under § 848(a), the "statute of conviction"
for which the jury found me guilty of.

CERTIFICATE OF SERVICE

 

I hereby certify that a true and complete copy of the fore-

going Motion has been placed in U.S. Fi Class Mail, this day

   

of June 10, 2019, with the postage ot arty below:

Nancy A, Abraham, AUSA

 

es
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3/  Umited States v. Lanier, 520 U.S. 259, 266 (1997)(noting that the rule of
Tenity “ensures fair warning by resolving ambiguity in a criminal statute as
to apply it only to conduct clearly covered").; see also Esquivel-Quintana v.
Lynch, 820 F.3d 1019, 1023 (6th Cir. 2015)("The Rule of Lenity™ must be
resolved in the defendants favor).

 

 
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Case 4:95

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